               Case 3:18-cv-01544-AC        Document 8      Filed 10/16/18    Page 1 of 17




David A. Bahr, OR Bar # 901990
Bahr Law Offices, P.C.
1035 1/2 Monroe Street
Eugene, Oregon 97402
Tel: 541-556-6439
Email: davebahr@mindspring.com

Miles Johnson, OR Bar # 125773
Columbia Riverkeeper
407 Portway Avenue, Suite 301
Hood River, OR 97031
Tel: 541-490-0487
Email: miles@columbiariverkeeper.org

Plaintiff’s Attorneys




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF OREGON
                                     PORTLAND DIVISION

COLUMBIA RIVERKEEPER, an Oregon non-                         Case No. 3:18-1544-AC
profit corporation,
                                                             AMENDED COMPLAINT
          Plaintiff,                                         FOR DECLARATORY AND
                                                             INJUNCTIVE RELIEF
     v.

UNITED STATES DEPARTMENT OF ENERGY,                            Freedom of Information Act Case
an agency of the United States of America,                     Administrative Procedure Act Case

          Defendant.


             Plaintiff, Columbia Riverkeeper (“Riverkeeper”), alleges as follows:

                                           INTRODUCTION

1.           In this action, brought pursuant to the Freedom of Information Act (“FOIA” or “the

Act”), 5 U.S.C. § 552 et seq., or, in the alternative, the Administrative Procedure Act (“APA”), 5

U.S.C. § 701 et seq., Riverkeeper challenges the unlawful acts of the Defendant United States



AMENDED COMPLAINT                                    1
         Case 3:18-cv-01544-AC         Document 8       Filed 10/16/18     Page 2 of 17




Department of Energy (“DOE”) in relation to Riverkeeper’s FOIA requests and appeal.

2.     In general, Riverkeeper is seeking information from DOE about greenhouse gas

emissions, climate change, and federal financial assistance for a petrochemical manufacturing

and export facility called the Kalama methanol refinery. The methanol refinery is proposed by a

corporation called Northwest Innovation Works (“NWIW”), a subsidiary of the Chinese

Academy of Sciences. That methanol refinery would be among the worst causes of greenhouse

gas pollution in Washington State. The methanol refinery’s export terminal would require

dredging and in-water construction in federally designated Critical Habitat for endangered

salmon and other species. By letter dated November 7, 2017, Riverkeeper sought this

information from DOE by submitting a FOIA request.

3.     By letter dated April 12, 2018, Riverkeeper submitted to DOE a FOIA request that sought

communications between DOE and NWIW, and other documents, bearing upon the validity of

DOE’s use of FOIA Exemptions 4 and 5 to withhold information responsive to Riverkeeper’s

previous FOIA requests regarding the Kalama methanol refinery.

4.     DOE has repeatedly failed to provide Riverkeeper with valid estimated completion dates

for its FOIA requests, failed to make timely final determinations regarding Riverkeeper’s FOIA

requests, unlawfully withheld documents responsive to Riverkeeper’s November 7, 2017,

request, and failed to release any records responsive to the April 12, 2018 request.

5.     These and other failures amount to illegal, constructive withholding of records responsive

to Riverkeeper’s FOIA request and a pattern and practice of failing to comply with FOIA.

6.     Each of these failures violates FOIA or, in the alternative, the APA.

7.     Accordingly, Riverkeeper seeks a declaration from this Court that DOE has violated

FOIA or, in the alternative, the APA. Riverkeeper also seeks an injunction from this Court that




AMENDED COMPLAINT                                2
         Case 3:18-cv-01544-AC         Document 8        Filed 10/16/18    Page 3 of 17




directs DOE promptly to provide Riverkeeper with the requested records.

                   JURISDICTION, VENUE, AND BASIS FOR RELIEF

8.     This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B) and 28

U.S.C. § 1331 because this action arises under FOIA, the APA, and the Declaratory Judgment

Act, 28 U.S.C. § 2201, et seq.

9.     Venue properly vests in this Court pursuant to 5 U.S.C. § 552(a)(4)(B), which provides

venue in this District because Riverkeeper has offices in Hood River and Portland, Oregon.

Assignment is proper in the Portland judicial division for the same reasons.

10.    Declaratory relief is appropriate under 28 U.S.C. § 2201.

11.    Injunctive relief is appropriate under 28 U.S.C. § 2202 and 5 U.S.C. § 552(a)(4)(B).



                                            PARTIES

12.    Plaintiff COLUMBIA RIVERKEEPER is a non-profit public interest organization

incorporated in Washington State with approximately 16,000 members. Riverkeeper’s principal

place of business is Hood River, Oregon. Riverkeeper’s mission is to restore and protect the

Columbia River and all life connected to it, from the headwaters to the Pacific Ocean.

Riverkeeper regularly uses FOIA to obtain records from federal agencies, including DOE,

relating to proposals for development and other threats to habitat and water quality in the

Columbia River. Riverkeeper brings this action on its own behalf and on behalf of its members

and staff, who use and benefit from information Riverkeeper obtains through FOIA requests.

These interests of Riverkeeper have been harmed by DOE’s failure to provide the records

Riverkeeper requested in a timely manner. These harms are traceable to DOE’s conduct and

would be remedied by the relief sought in this action.




AMENDED COMPLAINT                                3
         Case 3:18-cv-01544-AC          Document 8       Filed 10/16/18     Page 4 of 17




13.    Riverkeeper requested the records at issue in this action as part of Riverkeeper’s ongoing

efforts to improve government transparency and protect human and ecosystem health in the

Columbia River basin. Because the information requested herein has not been publicly disclosed,

its disclosure would significantly enhance public understanding concerning DOE’s actions and

the impacts of NWIW’s proposal.

14.    Defendant DOE is an agency of the executive branch of the United States government,

and has possession, custody, or control of the records sought by Riverkeeper. As such, DOE is

subject to FOIA pursuant to 5 U.S.C. § 552(f).



                                STATUTORY BACKGROUND

15.    FOIA imposes strict and rigorous deadlines on federal agencies. The Act requires a

federal agency that receives a FOIA request to determine whether the requested records are

exempt from disclosure under 5 U.S.C. § 552(b) and to communicate that determination to the

requester within 20 business days. 5 U.S.C. § 552(a)(6)(A)(i). The 20-business-day period

commences on the date when the request is first received by the appropriate component of the

agency, “but in any event not later than ten days after the request is first received by any

component of the agency” that is designated in the agency’s regulations to receive requests under

FOIA. Id. If the agency determines the records are not exempt from public disclosure, the agency

is required to make the requested records “promptly available” to the requester. 5 U.S.C. §

552(a)(3)(A).

16.    Congress set forth the circumstances in which federal agencies may take longer than 20

business days to make the initial determination. First, the agency may toll the 20-business-day

deadline for up to ten additional business days if the agency is waiting for information that it has

reasonably requested from the requester. 5 U.S.C. § 552(a)(6)(A)(ii)(I).


AMENDED COMPLAINT                                 4
         Case 3:18-cv-01544-AC          Document 8       Filed 10/16/18     Page 5 of 17




17.    Second, the agency may also toll the 20-business-day deadline for up to ten additional

business days if it needs to clarify with the requester any issues regarding fee assessment. 5

U.S.C. § 552(a)(6)(A)(ii)(II). If the agency faces “unusual circumstances,” the agency may

extend the 20-business-day deadline if the agency sets forth in writing “the unusual

circumstances for such extension and the date on which a determination is expected to be

dispatched.” 5 U.S.C. § 552(a)(6)(B)(i). No extension may exceed 10 business days unless the

agency: (1) provides written notice to the requester explaining the “unusual circumstances”

requiring an extension; (2) establishes the date on which the agency expects to make the

determination; and (3) gives the requester “an opportunity to limit the scope of the request so that

it may be processed within that time limit or an opportunity to arrange with the agency an

alternative time frame for processing the request or a modified request.” 5 U.S.C. §

552(a)(6)(B)(ii).

18.    Under FOIA, “unusual circumstances” are defined as “the need to search for and collect

the requested records from field facilities or other establishments that are separate from the office

processing the request[,]” or “the need to search for, collect, and appropriately examine a

voluminous amount of separate and distinct records which are demanded in a single request,” or

“the need for consultations … with another agency having a substantial interest in the

determination of the request or among two or more components of the agency having substantial

subject-matter interest therein.” 5 U.S.C. § 552(a)(6)(B)(iii).

19.    If the agency fails to meet FOIA’s disclosure deadlines, including the deadline to

determine within 20 business days whether to respond to the request, the agency may not charge

the requester for the costs incurred in searching for or duplicating the requested documents

unless unusual or exceptional circumstances apply. 5 U.S.C. § 552(a)(4)(A)(viii).




AMENDED COMPLAINT                                 5
         Case 3:18-cv-01544-AC            Document 8     Filed 10/16/18      Page 6 of 17




20.    Unless an agency subject to FOIA properly establishes a different timeline for disclosing

responsive records, FOIA’s mandate to make public records “promptly available” to a requester

requires federal agencies to provide responsive records to a requester within or shortly after the

20-business-day deadline set forth in 5 U.S.C. § 552(a)(6)(A)(i).

21.    FOIA mandates that every federal agency “(A) establish a system to assign an

individualized tracking number for each request received that will take longer than ten days to

process and provide to each person making a request the tracking number assigned to the

request; and (B) establish a telephone line or Internet service that provides information about the

status of a request to the person making the request using the assigned tracking number,

including: (1) the date on which the agency originally received the request; and (2) an estimated

date on which the agency will complete action on the request.” 5 U.S.C. § 552(a)(7).

22.    An agency may avoid disclosure of information responsive to a FOIA request only if the

agency proves that the requested documents fall within one of the nine enumerated exemptions

to the general disclosure requirement. See 5 U.S.C. § 552(b)(1)–(9). FOIA requires an agency

withholding information responsive to a FOIA request to provide the requester with “the reasons

therefore.” 5 U.S.C. § 552(a)(6)(A)(i).

23.    Consistent with encouraging disclosure, the exemptions under § 552(b) are discretionary,

not mandatory. Chrysler Corp. v. Brown, 441 U.S. 281, 291 (1979). “Subsection (b), 5 U.S.C. §

552(b), which lists the exemptions, simply states that the specified material is not subject to the

disclosure obligations set out in subsection (a). By its terms, subsection (b) demarcates the

agency’s obligation to disclose; it does not foreclose disclosure.” Id. at 292.

24.    An agency bears the burden of proving that a requested document falls within one of the

nine exemptions. See Schiller v. NLRB, 964 F.2d 1205, 1207 (D.C. Cir. 1992) (“Under FOIA,




AMENDED COMPLAINT                                 6
          Case 3:18-cv-01544-AC         Document 8       Filed 10/16/18     Page 7 of 17




‘the burden is on the agency to sustain its action.’”); Assembly of State of California v. U.S.

Dep’t of Commerce, 968 F.2d 916, 920 (9th Cir. 1992) (“The government has the burden to

prove that a requested document falls within one of FOIA’s exemptions.”).

25.      Given the policy behind FOIA, the federal courts have consistently refused to allow

agencies to meet their burden of proving the requested documents fall within one of FOIA’s

exemptions by making conclusory and generalized allegations of confidentiality. “We repeat,

once again, that conclusory assertions of privilege will not suffice to carry the Government’s

burden of proof in defending FOIA cases.” Coastal States Gas Corp. v. Department of Energy,

617 F.2d 854, 861 (D.C. Cir. 1980); see also Anderson v. Dep’t of Health & Human Servs., 907

F.2d 936, 941 (10th Cir. 1990) (“The district court must determine whether all of the requested

materials fall within an exemption to the FOIA and may not simply conclude that an entire file or

body of information is protected without consideration of the component parts.”).

26.      “Any reasonably segregable portion of a record shall be provided to any person

requesting such record after deletion of the portions which are exempt under this subsection.”

Anderson, 907 F.2d at 941. DOE cannot simply redact entire records or pages if a small portion

is subject to an exemption. See Oglesby v. U.S. Dep’t of the Army, 79 F.3d 1172, 1176 (D.C. Cir.

1996) (“If a document contains exempt information, the agency must still release ‘any

reasonably segregable portion’ after deletion of the nondisclosable portions.”) (quoting 5 U.S.C.

§ 552(b)). “[T]he exemptions to the FOIA do not apply wholesale. An item of exempt

information does not insulate from disclosure the entire file in which it is contained, or even the

entire page on which it appears.” Arieff v. Dep’t of the Navy, 712 F.2d 1462, 1466 (D.C. Cir.

1983).




AMENDED COMPLAINT                                 7
           Case 3:18-cv-01544-AC         Document 8      Filed 10/16/18     Page 8 of 17




27.       A U.S. district court has jurisdiction “to enjoin the agency from withholding agency

records and to order the production of any agency records improperly withheld from the

complainant.” 5 U.S.C. § 552(a)(4)(B).

28.       If the government can show that “exceptional circumstances” exist and that the agency is

exercising due diligence in responding to the request, the court may retain jurisdiction and allow

the agency additional time to complete its review of the records. 5 U.S.C. § 552(a)(6)(C)(i).

Notably, the term “exceptional circumstances” does not include a delay that results from a

predictable agency workload of FOIA requests, unless the agency demonstrates reasonable

progress in reducing its backlog of pending requests. 5 U.S.C. § 552(a)(6)(C)(ii).

29.       Agency action arising under FOIA has also been subject to judicial review under the

APA.

30.       Under the judicial review provisions of the APA, district courts are authorized to compel

agency action unlawfully withheld or unreasonably delayed. 5 U.S.C. § 706(1). District courts

must also set aside any agency action found to be arbitrary, capricious, an abuse of discretion,

not in accordance with law, or made without observation of required procedures. 5 U.S.C. §

706(2).



                                    STATEMENT OF FACTS

31.       NWIW proposes building the world’s largest facility for converting methane gas into

methanol. NWIW proposes building its methanol refinery along the lower Columbia River near

Kalama, Washington. Methanol produced at the Kalama methanol refinery would be shipped to

China, where it could be made into plastic or burned as transportation fuel.

32.       NWIW’s proposed methanol refinery would consume more methane gas (sometimes

called “natural gas” or “fracked gas”) than every gas-fired power plant in Washington State


AMENDED COMPLAINT                                 8
            Case 3:18-cv-01544-AC        Document 8       Filed 10/16/18    Page 9 of 17




combined. The methanol refinery would also be among the leading causes of greenhouse gas

pollution in Washington State. The methanol refinery’s export terminal would require dredging

and in-water construction in federally designated Critical Habitat for endangered salmon and

other species.

33.    NWIW asked DOE for a $2.017-billion loan guarantee to help finance the construction of

the Kalama methanol refinery.

34.    On November 7, 2017, Riverkeeper filed a FOIA request seeking “all records in DOE’s

control related to NWIW’s proposed Kalama methanol facility.”

35.    DOE produced some documents responsive to that FOIA request but heavily or

completely redacted much of the information contained in those documents, asserting FOIA

Exemptions 4 and 5. Riverkeeper disagreed with DOE’s use of FOIA Exemptions 4 and 5 to

withhold responsive records.

36.        In addition to attempting to resolve that dispute through dialog with DOE, on April 12,

2018, Riverkeeper sent a follow-up FOIA request that sought information about DOE’s

justification for asserting FOIA exemptions 4 and 5 in response to the November 7, 2017,

request.

37.    DOE responded via letter, dated April 18, 2018, acknowledging that DOE had received

Riverkeeper’s follow-up FOIA request on April 18, 2018, and assigning the FOIA request the

tracking number HQ-2018-00971-F. DOE’s letter did not provide an estimated completion date

(“ECD”) for follow-up FOIA request.

38.    On May 30, 2018, Riverkeeper informed DOE that the 20-business-day statutory time

limit for making a determination on the follow-up FOIA request had expired. Riverkeeper also

requested that DOE provide an ECD for responding to that FOIA request.




AMENDED COMPLAINT                                  9
        Case 3:18-cv-01544-AC          Document 8      Filed 10/16/18     Page 10 of 17




39.    On June 6, 2018, DOE provided an ECD of July 3, 2018, for the follow-up FOIA request.

40.    On July 13, 2018—having received neither the responsive documents nor a revised

ECD—Riverkeeper again asked DOE for an ECD for the follow-up FOIA request.

41.    On July 20, 2018, DOE represented to Riverkeeper that DOE would provide an ECD for

the follow-up FOIA request during the following week.

42.    As of the date of filing this amended complaint, DOE has not provided documents

responsive to Riverkeeper’s April 12, 2018, follow-up FOIA request or contacted Riverkeeper

provide a revised ECD for that FOIA request.

43.    Riverkeeper did not administratively appeal DOE’s failure to process Riverkeeper’s

follow-up FOIA request because DOE’s Office of Hearings and Appeals previously informed

Riverkeeper that DOE’s failure to act on a request is not subject to administrative appeal.

44.    DOE violated FOIA by failing to make timely determinations about Riverkeeper’s April

12, 2018, follow-up FOIA request.

45.    As of the date this amended complaint was filed, DOE is violating FOIA by not

providing a valid ECD for Riverkeeper’s April 12, 2018, FOIA request.

46.    Riverkeeper has contacted DOE on multiple occasions to inquire about the status of its

April 12, 2018, FOIA request and to request ECDs for DOE’s determination on this request. In

so doing, Riverkeeper invoked 5 U.S.C. § 552(a)(7)(B)(ii).

47.    As of the date this amended complaint was filed, DOE has not provided Riverkeeper with

a written notice setting forth any unusual circumstances that would justify extension of any of

FOIA’s deadlines, pursuant to 5 U.S.C. 552(a)(6)(B)(i) regarding Riverkeeper’s April 12, 2018,

FOIA request.

48.    DOE is overdue in its regulatory obligations to review and provide non-exempt




AMENDED COMPLAINT                               10
         Case 3:18-cv-01544-AC          Document 8       Filed 10/16/18   Page 11 of 17




responsive records regarding Riverkeeper’s April 12, 2018, FOIA request.

49.     By letter dated August 16, 2018, DOE issued a supplemental response to Riverkeeper’s

initial FOIA request of November 7, 2017. That response continued to withhold records,

asserting FOIA Exemptions 4 and 5.

50.     By letter dated August 20, 2018, Riverkeeper appealed DOE’s decision dated August 16,

2018.

51.     By a decision dated September 5, 2018, DOE denied Riverkeeper’s appeal.

52.     This lawsuit is necessary to compel DOE to disclose all records that are responsive to

Riverkeeper’s FOIA requests.

53.     Riverkeeper’s claims presented herein are not insubstantial within the meaning of 5

U.S.C. § 552(a)(4)(E)(ii)(II).

54.     No exceptional circumstances exist within the meaning of FOIA, 5 U.S.C. §

552(a)(6)(C), which would allow this Court to grant DOE more time to review and disclose

requested records.

55.     DOE has not exercised due diligence in searching for and releasing records responsive to

Riverkeeper’s requests and appeal.

56.     The delays at issue in this case result from a predictable agency workload of FOIA

requests and appeal. DOE has not made reasonable progress in reducing its backlog of pending

requests.

57.     The circumstances in this case raise questions about whether agency personnel acted

arbitrarily or capriciously with respect to the withholdings at issue.

58.     Based on the nature of Riverkeeper’s professional activities, Riverkeeper will continue to

employ FOIA’s provisions in information requests to DOE in the foreseeable future.




AMENDED COMPLAINT                                11
         Case 3:18-cv-01544-AC        Document 8       Filed 10/16/18      Page 12 of 17




Riverkeeper’s professional activities will be adversely affected if DOE is allowed to continue

violating FOIA’s disclosure provisions. Unless enjoined and made subject to a declaration of

Riverkeeper’s legal rights by this Court, DOE will continue to violate Riverkeeper’s right to

receive public records under FOIA.

59.    Riverkeeper has been required to expend costs and to obtain the services of attorneys to

prosecute this action.



                                     CAUSES OF ACTION

                                           COUNT I
             VIOLATION OF THE FREEDOM OF INFORMATION ACT:
           UNLAWFUL, CONSTRUCTIVE DENIAL OF FOIA REQUEST AND
                     WITHHOLDING OF INFORMATION

60.    Riverkeeper hereby incorporates by reference the allegations in the preceding paragraphs.

61.    Riverkeeper has a statutory right to the records it seeks, which are “agency records”

within the meaning of FOIA, and there is no legal basis for DOE to assert that any of FOIA’s

nine disclosure exemptions apply to the records requested. See 5 U.S.C. § 552(b)(l)–(9).

62.    DOE violated Riverkeeper’s rights under FOIA by failing to comply with the Act’s

decision deadlines, failing to make determinations on Riverkeeper’s FOIA request, and thus

constructively withholding information responsive to Riverkeeper’s FOIA request.

63.    Based on the nature of Riverkeeper’s professional activities, it will continue to employ

FOIA’s provisions in information requests to DOE in the foreseeable future.

64.    Riverkeeper’s professional activities will be adversely affected if DOE is allowed to

continue violating FOIA’s disclosure provisions as DOE has in this case.

65.    Unless enjoined and made subject to a declaration of Riverkeeper’s legal rights by this

Court, DOE will continue to violate the rights of Riverkeeper to receive public records under


AMENDED COMPLAINT                              12
         Case 3:18-cv-01544-AC          Document 8       Filed 10/16/18       Page 13 of 17




FOIA.

66.     Riverkeeper is entitled to reasonable costs of litigation, including attorneys’ fees and

costs pursuant to FOIA. 5 U.S.C. § 552(a)(4)(E).

                                             COUNT II
              VIOLATION OF THE FREEDOM OF INFORMATION ACT:
              UNLAWFUL APPLICATION OF DISCLOSURE EXEMPTION

67.     The allegations made in all preceding paragraphs are re-alleged and incorporated by

reference herein.

68.     Plaintiff has a statutory right to the records it seeks, which are “agency records” within

the meaning of FOIA, and there is no legal basis for Defendant DOE to assert that any of the

FOIA’s nine disclosure exemptions apply. See 5 U.S.C. § 552(b)(l)-(9).

69.     Defendant DOE violated Plaintiff’s rights under FOIA by unlawfully withholding

information responsive to Plaintiff’s FOIA request and appeal based on an overly broad

application of FOIA’s exemptions to mandatory information disclosure. Specifically, Defendant

has unlawfully withheld information responsive to Riverkeeper’s information request under a

claim that FOIA’s Exemptions 4 and 5 precludes its public disclosure.

70.     Based on the nature of Plaintiff’s professional activities, it will continue to employ

FOIA’s provisions in information requests to Defendant DOE in the foreseeable future.

71.     Plaintiff’s professional activities will be adversely affected if Defendant DOE is allowed

to continue to violate FOIA’s disclosure provisions as it has in this case.

72.     Unless enjoined and made subject to a declaration of Plaintiff’s legal rights by this Court,

Defendant DOE will continue to violate the rights of Plaintiffs to receive public records under

FOIA.

73.     Plaintiffs are entitled to reasonable costs of litigation, including attorneys’ fees and costs



AMENDED COMPLAINT                                 13
        Case 3:18-cv-01544-AC          Document 8       Filed 10/16/18     Page 14 of 17




pursuant to FOIA. 5 U.S.C. § 552(a)(4)(E).

                                           COUNT III
               VIOLATION OF THE FREEDOM OF INFORMATION ACT:
                       DECISION DEADLINE VIOLATIONS

74.    Riverkeeper hereby incorporates by reference the allegations in the preceding paragraphs.

75.    Riverkeeper has a statutory right to have DOE process its FOIA request in a manner that

complies with FOIA. DOE violated Riverkeeper’s rights in this regard when DOE failed to make

a determination on Riverkeeper’s FOIA request by the deadlines imposed by FOIA. 5 U.S.C. §§

552(a)(6)(A)(i); 552(a)(6)(A)(ii).

76.    DOE is unlawfully withholding public records sought by Riverkeeper, records which are

“agency records” within the meaning of FOIA, to which Riverkeeper is entitled, and for which

no valid disclosure exemption applies.

77.    Based on the nature of Riverkeeper’s professional activities, it will continue to employ

FOIA’s provisions in information request to DOE in the foreseeable future.

78.    Riverkeeper’s professional activities will be adversely affected if DOE is allowed to

continue violating FOIA’s decision deadlines.

79.    Unless enjoined and made subject to a declaration of Riverkeeper’s legal rights by this

Court, DOE will continue to violate the rights of Riverkeeper to have its information requests

and appeals processed as required by FOIA.

80.     Riverkeeper is entitled to reasonable costs of litigation, including attorneys’ fees

pursuant to FOIA. 5 U.S.C. § 552(a)(4)(E).

                                           COUNT IV
          VIOLATION OF THE FREEDOM OF INFORMATION ACT:
 FAILURE TO PROVIDE AN ESTIMATED DATE ON WHICH THE AGENCY WILL
     COMPLETE ACTION ON PLAINTIFF’S FOIA REQUESTS AND APPEAL

81.    FOIA requires federal agencies to provide the requester with information about the status


AMENDED COMPLAINT                                14
        Case 3:18-cv-01544-AC          Document 8       Filed 10/16/18     Page 15 of 17




of the agency’s response to the request, including an estimated date on which the agency will

complete action on the request. 5 U.S.C. § 552(a)(7)(B)(ii).

82.    DOE has repeatedly violated, and continues to violate, FOIA by failing to provide

Riverkeeper with a valid estimated date of completion for Riverkeeper’s FOIA request.

83.    Riverkeeper is entitled to reasonable costs of litigation, including attorneys’ fees,

pursuant to FOIA. 5 U.S.C. § 552(a)(4)(E).

                                            COUNT V
                          (In the alternative to Counts I through III)
             VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT:
               FAILING TO COMPLY WITH FOIA IN RESPONDING TO
                        RIVERKEEPER’S FOIA REQUESTS

84.    Riverkeeper hereby incorporates by reference the allegations in the preceding paragraphs.

85.    DOE has failed to act in an official capacity under color of legal authority by failing to

comply with the mandates of FOIA consequent to DOE’s failure and refusal to: (1) issue a timely

final determination on Riverkeeper’s FOIA requests; and (2) provide Riverkeeper with valid

estimated completion dates for its requests.

86.    Riverkeeper has been adversely affected and aggrieved by DOE’s failure to comply with

the mandates of FOIA. DOE’s failure and refusal to: (1) issue a timely final determination on

Riverkeeper’s FOIA requests; and (2) provide Riverkeeper with valid estimated completion dates

for its requests have injured Riverkeeper’s interests in public oversight of governmental

operations and constitute a violation of DOE’s statutory duties under the APA.

87.    Riverkeeper has suffered a legal wrong resulting from DOE’s failure to comply with the

mandates of FOIA. DOE’s failure and refusal to: (1) issue a timely final determination on

Riverkeeper’s FOIA request; and (2) provide Riverkeeper with valid estimated completion dates

for its request have injured Riverkeeper’s interests in public oversight of governmental



AMENDED COMPLAINT                               15
         Case 3:18-cv-01544-AC         Document 8       Filed 10/16/18     Page 16 of 17




operations and constitute a violation of DOE’s statutory duties under the APA.

88.     DOE’s failure and refusal to: (1) issue a timely final determination on Riverkeeper’s

FOIA request; and (2) provide Riverkeeper with valid estimated completion dates for its request

constitute agency action unlawfully withheld and unreasonably delayed and are therefore

actionable pursuant to the APA, 5 U.S.C. § 706(1).

89.     Alternatively, DOE’s failure and refusal to: (1) issue a timely final determination on

Riverkeeper’s FOIA request; and (2) provide Riverkeeper with valid estimated completion dates

for its request violate FOIA and are therefore arbitrary, capricious, or an abuse of discretion and

not in accordance with law and actionable pursuant to the APA, 5 U.S.C. § 706(2).

90.     Riverkeeper is entitled to judicial review under the Administrative Procedure Act, 5

U.S.C. §§ 702, 706.

91.     Riverkeeper is entitled to costs of disbursements and costs of litigation, including

reasonable attorney and expert witness fees, under the Equal Access to Justice Act, 28 U.S.C. §

2412.

                                   REQUESTS FOR RELIEF

        WHEREFORE, Riverkeeper requests that this Court:

1.      Adjudge and declare that DOE has violated FOIA for the reasons set forth above;

2.      Order DOE to comply immediately with FOIA by providing Riverkeeper all non-exempt

public records responsive to Riverkeeper’s FOIA requests and appeal;

3.      Declare that DOE has engaged in an unlawful pattern or practice of violating FOIA when

responding to Riverkeeper’s FOIA requests;

4.      Enjoin DOE from continuing that unlawful pattern or practice of violating FOIA when

responding to Riverkeeper’s FOIA requests;




AMENDED COMPLAINT                                16
        Case 3:18-cv-01544-AC          Document 8       Filed 10/16/18     Page 17 of 17




5.     Award Riverkeeper its reasonable attorneys’ fees and litigation costs pursuant to 5 U.S.C.

§ 552(a)(4)(E) and/or award Riverkeeper its reasonable fees, expenses, costs, and disbursements,

including attorneys’ fees associated with this litigation, under the Equal Access to Justice Act, 28

U.S.C. § 2412;

6.     Grant such further and additional relief as Riverkeeper may from time to time request or

this Court deems just and proper.

       Respectfully submitted for the Court’s consideration, this 16th day of October, 2018.



                                              /s/ _David A Bahr__ _
                                              David A. Bahr, OR Bar No. 90199
                                              Bahr Law Offices, P.C.
                                              1035 1/2 Monroe Street
                                              Eugene, Oregon 97402
                                              Tel: 541-556-6439
                                              Email: davebahr@mindspring.com

                                              /s/ Miles Johnson______
                                              Miles Johnson, OR Bar # 125773
                                              Columbia Riverkeeper
                                              407 Portway Avenue, Suite 301
                                              Hood River, OR 97031
                                              Tel: 541-490-0487
                                              Email: miles@columbiariverkeeper.org




AMENDED COMPLAINT                               17
